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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :      Case No.: 21-cr-382 (PLF)
          v.                                :
                                            :
CHRISTOPHER WARNAGIRIS,                     :
                                            :
                                            :
                      Defendant.            :


                                NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court

that Assistant United States Attorney Andrew Haag is entering his appearance as co-counsel in

the above-captioned matter.

                                                   Respectfully submitted,

                                                   MATTHEW M. GRAVES
                                                   United States Attorney
                                                   D.C. Bar No. 481052


                                            By:    /s/ Andrew Haag
                                                   Andrew Haag
                                                   Assistant United States Attorney
                                                   MA Bar No. 705425
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                                                   andrew.haag@usdoj.gov
                                                   202-252-7755
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                               CERTIFICATE OF SERVICE

        On this 14th day of September 2023, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.

                                                   /s/ Andrew Haag
                                                   Andrew Haag
                                                   Assistant United States Attorney




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